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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

GREAT AMERICAN INSURANCE                       )
COMPANY,                                       )
                                               )
                             Plaintiff,
                                               )
              v.                               )
                                               )   Case No. 1:17-cv-03083
STATE PARKWAY CONDOMINIUM                      )
ASSOCIATION; LIEBERMAN                             District Judge:
                                               )   Hon. Sharon Johnson Coleman
MANAGEMENT SERVICES, INC.;                     )
DONNA WEBER; MICHAEL J. NOVAK,                 )
INDIVIDUALLY AND IN HIS                            Magistrate Judge:
                                               )   Hon. Jeffrey T. Gilbert
REPRESENTATIVE CAPACITY FOR HIS
                                               )
MINOR CHILD T.N. AS PARENT AND
NEXT FRIEND; and CHRISTINA                     )
BUGELAS NOVAK,                                 )
                                               )
                                               )
                                               )
                             Defendants.

                   JOINT INITIAL STATUS REPORT (JUDGE GILBERT)

        NOW COME, Great American Insurance Company (GAIC), State Parkway

Condominium Association (SPCA), Lieberman Management Services, Inc. (“Lieberman”),

Donna Weber (“Weber”), Strathmore Insurance Company (“Strathmore”), Travelers Casualty

and Surety Company of America (“Travelers”), Steadfast Insurance Company (“Steadfast”),

Harleysville Insurance Company (“Harleysville”) and for their Joint Initial Status Report (Judge

Gilbert) state as follows:

1.      Brief Summary of Claims

        This action seeks a declaration, pursuant to 28 U.S.C. §2201, that GAIC owes no

insurance coverage obligations to the SPCA, Lieberman and/or Weber (collectively referred to as

“the Association Defendants”) under an excess policy of insurance issued by GAIC under which

SPCA is an insured in connection with the two pending lawsuits styled as: (1) Board of Directors
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of the State Parkway Condominium Association v. Michael Novak, Case No. 08 CH 11941

(Chancery Division, Cir. Ct. of Cook Cty., IL)(referred to as the “Chancery Suit”); and (2)

Michael Novak, Christina Bugelas Novak; T.N. by her parent and next friend Michael Novak v.

Board of Directors, the State Parkway Condominium Association, Donna Weber, Lieberman

Management Services, Inc. and Levenfield Pearlstein, LLC, Case No. 13 cv 8861 (U.S. N.D.

Ill.)(referred to as the “Federal Lawsuit”)(collectively referred to as the “Novak Claims”).

        GAIC has filed a 14 count complaint seeking a declaration of no coverage because: (I)

No Claim First Made Within GAIC’s Policy Period; (II) the Known Loss/Loss In Progress

Doctrine Applies; (III) the Known Loss Exclusion Applies; (IV) the Underlying Insurance Is not

Yet Exhausted/ Association Defendants Must Pay the $1 Million Gap between the Travelers

Policy and GAIC Policy; (V) Underlying Insurance Not Yet Exhausted Because of the Failure to

Maintain CGL Coverage; (VI) Underlying Insurance Not Yet Exhausted because Association

Defendants Prematurely Exhausted Travelers Policy; (VII) the Notice Condition has been

breached: (VIII) Other Insurance Exists making GAIC’s Policy excess; (IX) Sums Claimed in

Novak Claims Are Not Covered “Loss” As Defined; (X) the Breach of Contract Exclusion

precludes coverage; (XI) the Bodily Injury Exclusion precludes coverage; (XII) the Fraudulent or

Dishonest Act Exclusion precludes coverage; (VIII) the Discrimination Exclusion precludes

coverage; and (XIV) Lieberman and Weber Are Not Insureds.

        SPCA and Lieberman/Weber filed counterclaims against GAIC seeking a declaration that

GAIC is obligated to defend the Novak Claims if coverage under the Travelers policies is

exhausted or if Travelers abandons the defense of the Novak Claims. GAIC has answered the

SPCA and Lieberman/Weber Counterclaims.




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        SPCA filed a Third-Party Complaint to add its other insurers, Travelers, Steadfast,

Strathmore, American International Specialty Lines Ins. Co. (“AIG”) and Harleysville Lake

States Ins. Co. (“Harleysville). Travelers, Strathmore and Steadfast have all appeared in the case.

On January 5, 2018, summons was issued for AIG and Harleysville. On January 19, 2018,

Harleysville appeared. AIG was served on January 5, 2018.

        On January 5, 2018, Travelers filed its Counterclaim against SPCA and Fourth-Party

Complaint against Lieberman and Weber. Travelers seeks a declaration that Travelers has no

obligation to defend or pay for SPCA’s, Lieberman’s and Weber’s defense in connection with

for the Novak Claims under any policy Travelers issued to SPCA. Travelers contends it has no

such obligation because Travelers exhausted its Limits of Liability under the 2006-2007 Policy

and the Novak Claims are a single claim first made in the 2006-2007 policy year. SPCA,

Lieberman and Weber have not yet responded to Travelers’ Counterclaim and Fourth-Party

Complaint.

        On January 22, 2018, Strathmore filed its Counterclaim against SPCA, and Forth-Party

Complaint against Lieberman and Weber. Strathmore seeks a declaration, pursuant to 28 U.S.C.

§2201, that Strathmore has no duty or obligation to defend, or pay for the defense of SPCA

and/or Lieberman Management Services, Inc. (“the insured”) in the Novak Litigation and no

duty to reimburse, indemnify or otherwise pay for any damages, liability or judgment in the

Novak Litigation under any policy of insurance issued by Strathmore to SPCA due to late notice,

known loss, loss in progress and additional policy terms, definitions, conditions and

exclusions. SPCA, Lieberman and Weber have not yet responded to Strathmore’s Counterclaim

and Fourth-Party Complaint.




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        Lieberman/Weber will seek leave to file Third Party Complaints against Travelers,

Steadfast, Strathmore, AIG and Harleysville.

2.      Recap of Any Admissions in the Answer and Brief Summary of Any Affirmative
        Defenses

        Defendants admit several allegations pertaining to the underlying Novak Claims,

including when they were filed. Defendants admit that the GAIC policy is attached to the

complaint. SPCA admits that it did not “directly” provide notice of the Novak Claims to its

Commercial General Liability (CGL) insurers before February 2017 and Lieberman/Weber

admit that they did not provide notice to any CGL carrier before February 2017.

Lieberman/Weber admit that they prepared a document sent to Travelers which listed “Novak”

as a pending claim or loss before the GAIC policy was issued. The Lieberman/Weber Answer

also asserts that the application submitted for the GAIC policy was not prepared by them.

        SPCA filed two affirmative defenses to GAIC’s Complaint: (1) premature to determine

the duty to indemnify; and (2) improper to determine any fact issues that are in dispute in the

underlying Novak Claim. The same affirmative defenses were filed by Lieberman/Weber.

        Travelers also asserted affirmative defenses to SPCA’s Third Party Complaint: (1) the

Novak Claims are a single claim first made in the 2006-2007 policy period and Travelers has

exhausted its policy and has no obligation to defend; (2) no coverage under Travelers policies

issued after the 2006-2007 policy because the claim was first made before those policies’

periods; (3) SPCA’s claims are barred by the doctrine of unjust enrichment because SPCA seeks

a greater benefit than it was entitled to under the Travelers policies; (4) SPCA's Section 155

claims are barred because Travelers has no defense obligation under the Travelers policies, there

is a bona fide coverage dispute, and Travelers actions were reasonable and not vexatious; (5)



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claims barred by other terms, conditions or exclusions; and (6) reserving the right to assert future

affirmative defenses after defenses are revealed in discovery.

        Strathmore asserted affirmative defenses to SPCA’s Third Party Complaint: (1) the

Novak Claims occurred before the inception of the Strathmore policy; (2) the Novak Claims are

not an “occurrence” as defined by the Strathmore policy; (3) the insured failed to provide notice

of an “occurrence” or notice of a “suit” as required by the Strathmore policy; (4) There is no

claim for damages within the Novak Litigation as a result of “bodily injury” or “property

damage” caused by an “occurrence; (5) There are no claims for damages within the Novak

Litigation for “personal injury” or “advertising injury” as those terms are defined within the

policies; (6) The Novak Litigation alleges damages or causes of action based upon intentional

conduct of State Parkway Condominium Association and do not allege an “occurrence” as

defined by the policy; (7) The is no coverage under the policy for attorney fees; (8) The loss

occurred prior to the inception of the policy; (9) The alleged damages occurred outside of the

policy term; (10) SPCA’s claims for damages under 215 ILCS § 5/155 are barred, because (a)

Strathmore has no obligation under the Strathmore policies, (b) there is a bona fide coverage

dispute, and (c) Strathmore’s denial of coverage to was proper; (11) SPCA’s claims are barred by

other terms, conditions or exclusion in the Strathmore policies; (12) Strathmore reserved the

right to supplement its affirmative defenses as they are discovered.

3.      Brief Statement of the Relief Sought, Including an Itemization of Damages

        GAIC seeks a declaration that it owes no insurance coverage obligations to SPCA,

Lieberman and Weber for the Novak Claims. SPCA and Lieberman/Weber seek an opposite

declaration to the extent that the Travelers policies are exhausted and that Travelers withdraws

its defense of the Novak Claims.

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        Travelers seeks a declaration that (a) its payment of defense costs has exhausted the

limits of liability available under its polices, and (b) it has no obligation under its policies to

defend or pay for SPCA’s, Lieberman’s and Weber’s defense in connection with the Novak

Claims.

        Strathmore seeks a declaration against Third-Party Plaintiff State Parkway Condominium

Association on SPCA’s Third-Party Complaint against Strathmore, and a declaration that

Strathmore has no duty or obligation to defend, or pay for the defense of, SPCA and/or

Lieberman Management Services, Inc. in the Novak Suit and/or Chancery Suit and no duty to

reimburse, indemnify or otherwise pay for any damages, liability or judgment(s) in the Novak

Suit and/or Chancery Suit.

4.      Brief Statement of The Matter Referred

        On July 24, 2017, Judge Coleman referred this case to Judge Gilbert for the purpose of

proceedings related to discovery supervision and settlement discussions.

5.      Status of Any Briefing on the Matters Referred

        There is currently one pending motion before Judge Coleman. Steadfast filed a Motion to

Dismiss Count IV of SPCA’s Third Party Complaint because Steadfast filed a declaratory

judgment action in the Circuit Court of Cook County, Illinois prior to the SPCA filing its Third-

Party Complaint in Great American’s declaratory judgment action in this court. (Docket No. 57,

58). Steadfast seeks a declaration that the claims asserted in the underlying cases by the Novak

family against the SPCA, Lieberman and Weber are outside the scope of coverage provided by

the relevant Steadfast CGL policies and, therefore, Steadfast has no duty to defend or indemnify

the SPCA, Lieberman or Weber in the underlying cases. On January 23, 2018, Judge Coleman




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set a briefing schedule: SPCA’s Response is due February 6, 2018 and Steadfast’s Reply is due

February 20, 2018.

        On January 24, 2018, Harleysville filed an agreed motion for enlargement of time to

answer or otherwise plead against SPCA’s Third Party Complaint. This motion is set to be heard

by Judge Coleman on January 30, 2018.

6.      A Description of Any Discovery That Has Been Completed or That is Outstanding

        No discovery has occurred as this matter is still in the pleadings stage. With respect to

SPCA’s Third Party Complaint, one Third-Party Defendant has not yet appeared, one Third-

Party Defendant has not yet filed its responsive pleading, and one Third-Party Defendant has

filed a Motion to Dismiss.

7.      Any Existing Discovery Cut-Off, Pre-Trial Order, or Trial Dates

        None scheduled.

8.      Discovery Plan

        GAIC believes an early summary judgment motion is likely. This motion would likely

concern the relatedness/policy period, known loss/loss in progress and maintenance of

underlying insurance/gap issues. GAIC believes that this motion can be completed with some

focused discovery. The potential discovery would likely be directed to complete copies of the

insurance policies as well as the reporting/notice of the underlying claims to the insurers and

coverage positions taken by the carriers for these claims and the respective claim files. Other

issues will likely need to await resolution of the Novak Claims if a defense funding obligation

exists. These other coverage issues include indemnity, the covered loss defense; the Breach of

Contract, Bodily Injury, the Fraudulent or Dishonest Act, and Discrimination Exclusions as well




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as whether Lieberman and Weber Qualify as Insureds, will likely need to await resolution of the

Novak Claims.

          a.      The parties propose Rule 26(a)(1) disclosures be exchanged 30 days after all of

the Defendants and Third-Party Defendants have appeared and answered the complaints.

          b.      The parties propose that fact discovery shall be completed by October 31, 2018 on

any defense funding issues. The parties do not believe that discovery deadlines should be set on

the issues as respects indemnity as detailed above.

          c.      The parties do not currently expect expert discovery will be needed. Nevertheless,

the parties propose Rule 26(a)(2) expert disclosures be provided by plaintiff on or before

November 30, 2018 and by defendant on or before December 31, 2018 as respects the defense

funding issues.

          d.      Although expert discovery is currently not expected, the parties propose that

expert depositions be completed on or before January 31, 2019 as respects the defense funding

issues.

9.        ESI Discovery

          The parties do not anticipate significant electronically stored information (ESI) discovery

but will further confer on discovery as respects emails.

10.       Consent to Proceed Before A Magistrate Judge

          The parties have not consented to proceed before the magistrate.

11.       Settlement Discussions

          No settlement discussions have transpired. The parties do not believe that a settlement

conference will be productive at this time particularly since not all Third Party Defendants have




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appeared and answered. At the very least, the parties do not believe that settlement discussions

would be productive until after the Third-Party Defendants have appeared and answered.

                                            Respectfully submitted,

GREAT AMERICAN INSURANCE             STATE PARKWAY                      LIEBERMAN MANAGEMENT
COMPANY                              CONDOMINIUM ASSOCIATION            SERVICES, INC. AND DONNA
                                                                        WEBER

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TRAVELERS CASUALTY AND               STRATHMORE INSURANCE               STEADFAST INSURANCE
SURETY COMPANY OF                    COMPANY                            COMPANY
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                                CERTIFICATE OF SERVICE
        I hereby certify that January 24, 2018, I electronically filed the aforesaid document with
the Clerk of the Court using the ECF system which will send notification of such filing to all
parties of record in this case by operation of the Court’s electronic filing system. Parties may
access this filing through the Court’s system.

                                             By:    /s/ Ashley L. Conaghan    _
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